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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
______________________________
United States of America,             :
                                      :                Case No.:      21-mj-385-ZMF
               v.                     :
                                      :
Kevin Louis Galetto,                  :
                       Defendant.     :
______________________________
           UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE

       The Defendant, Kevin Louis Galetto, respectfully moves this Court to modify the

conditions of his pretrial release. Specifically, Mr. Galetto asks this Court to remove the

condition requiring location monitoring by Pretrial Services. Defense counsel has discussed this

motion with AUSA Jennifer Rozzoni and the government does not oppose this motion.

       On April 30, 2021, Mr. Galetto appeared before Magistrate Judge G. Michael Harvey in

this Court, who issued an Order setting his conditions of release. Relevant to the instant motion,

the conditions of release imposed by this Court included, among other things, that Mr. Galetto

would be required to submit to location monitoring as directed by Pretrial Services or his

assigned supervising officer. At that time, Mr. Galetto had a signed contract and closing date to

sell his home in California and was preparing to travel around the country in his Recreational

Vehicle, staying at various campsites, which would have rendered him transient and without a

fixed residence and therefore a potential flight risk. Under those circumstances, the parties

agreed that location monitoring was an appropriate solution.




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       Recently, Mr. Galetto’s circumstances changed, and location monitoring is no longer

necessary. He has now established a fixed residence at his sister’s home, located at 2585 South

Cortenay Pkwy., Merritt Island, FL 32952. Mr. Galetto’s sister and brother-in-law have

temporarily relocated to Pennsylvania, permitting he and his wife to reside at their home. Mr.

Galetto has indicated that he and his wife will be able to remain at his sister’s home through the

conclusion of this case. Additionally, Mr. Galetto is currently seeking employment in Florida

and intends to stay there. Moreover, his wife works as a post-closing specialist and is stationed

in Florida as a full-time remote employee of her mortgage lending company.

       Mr. Galetto has complied with all other conditions of release, including submitting to

supervision and location monitoring, surrendering his passport and firearms, staying out of the

District of Columbia, remaining in contact with Pretrial Services, and obtaining permission

before traveling outside the Central District of California. Additionally, Mr. Galetto traveled

from the Central District of California to his sister’s home in the Middle District of Florida, with

the Court’s and Pretrial Services’ permission, and maintained contact with Pretrial Services by

contacting them via telephone every two days. He completed that trip as scheduled without

incident. On June 30, 2021, Pretrial Services for the Middle District of Florida, Orlando

Division, conducted a home inspection of the house where Mr. Galetto is currently residing and

determined that he is complying with his conditions of release and agreed to take over his pretrial

supervision.




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                                        CONCLUSION

       WHEREFORE, Mr. Galetto respectfully requests that this Court modify the conditions of

release by vacating the condition requiring him to submit to location monitoring.

Dated: July 2, 2021

                                                                                    Respectfully,

                                                                              /s/ Richard Portale
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